                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                         )
UNITED STATES OF AMERICA )
                         )
V.                       )                    No. 16-10305-NMG
                         )
MARTIN GOTTESFELD,       )
                         )
                         )
          Defendant      )


         COUNSEL’S MOTION TO WITHDRAW APPEARANCE



       Undersigned counsel for the defendant, Martin Gottesfeld, hereby moves this Honorable

Court for leave to withdraw his appearance as attorney for Mr. Gottesfeld in this case.

       As reason therefore, counsel suggests that there has been an irretrievable breakdown of

the attorney/client relationship and that the defendant has requested this motion.

       Counsel requests an EX PARTE hearing on this motion in the presence of the defendant.



                                                     Respectfully submitted,

                                                     Martin Gottesfeld,

                                                     By his attorney,

                                                     /s/ Raymond E. Gillespie
                                                     Raymond E. Gillespie
                                                     BBO #192300
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                               CERTIFICATE OF SERVICE


       I hereby certify that on March 1, 2018 the foregoing document has been served upon all
persons listed in the Notice of Electronic Filing entered in the CM/ECF system in connection


                                             /s/ Raymond E. Gillespie
                                             Raymond E. Gillespie




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